PAGE 61/17

11/Casec:062\891528eMSEKRS Document 77-19E"Filed 02/17/10 Page 1 of 1 Pagel) 891

PAGE 41 OF

 

SOLICITATION/ICONTRACT/ORDER FOR COMMERCIAL

OFFEROR TO COMPLETE BLOCKS 12, 17, 23, 24, & 30

4, REQUISITION NO. BPA NO.

ANOO220N2005T

ITEMS

 

 

 

 

 

 

2, CONTRACT NO. 4. AWARD/EFFECTIVE DATE, 4. ORDER NO. MODIFICATION NO, | 5, SOLICITATION NO, 6. SOLICITATION ISSUE DATE
/0/81 DY HSFEO4-05~-P-4149
7. FOR SOLICITATION a =f , b. TELEPHONE NO, (Na Collect Calle} @, OFFER QUE DATE/LOCAL
INFORMATION CALL: Jonathan Gibb (703) 946-2060 TIME
B. ISSUED BY cope | 40, THIS ACQUISITION [S 44. DELIVERY FOR FOB 42. DISCOUNT TERMS
DESTINATION UNLESS

Department of Homeland Security
Federal Emergency Management Agency
Disaster Field Office

4900 Sunport Lane

Orlando FL 32809

BLOCK IS MARKED N/A

[| see scuepute

13a. THIS CONTRACT IS A RATED ORDER UNDER
OPAS (16 CFR 709)

(J unresrercten

 

[xl SET ASIDE: % FOR

 

100
[x] G@MALL BUSINESS

 

C) HUBZONE SMALL BUSINESS $f 43h, RATING

| aA}

NAICS:
8IZE STANDARD:

N/A

 

14, METHOD OF SOLICITATION

[_] nro []ir6

336214

[Jarre

 

 

15, DELIVER TO

CODE |

16. ADMINISTRERED BY CODE |
Federal Emergency Management Agency

Region IV

Contracting Division

3003 Chamblee Tucker Rd

Atlanta GA 30341

 

17a. CONTRACTORIGFFEROR CODE |

MLU SERVICES INC

FACILITY CODE |

573 HAWTHORNE AVE

ATHENS GA 306042505
TELEPHONE NO.

“] 47. CHECK IF REMITTANCE IS DIFFERENT ANO FUT SUCH ADDRESS IN OFFER

 

48a, PAYMENT WILL BE MADE BY

CODE |

Federal Emergency Management Agency
Disaster Pinance Center/ Bldg 706
ATIN: Vender Payments

P.Q, Box 800

Barryville VA 22611

48b, BUBMIT INVOICES TO ADDRESS SHOWN IN BLOCK 18 UNLESS BLOCK BELOW IG CHECKED

 

SEE ADDENDUM
4". 2. «See CONTINUATION Page OL 2, 23. 2.
ITEM NO, SCHEDULE OF SUPPLIESSERVICES QUANTITY UNIT UNIT PRICE AMOUNT

 

DR-1551-FL, and DR-1561-DR.

Total Wot-To-Rxeeed amount $1,000,000,00

Provide Set-Up/Installation Services for travel trailers
in response to digaster opexations for DR-1539-FL, DR-1545-FL,

The Contractor shali notify the Contracting Officer in writing
Whenever it hes reason to believe that the costs the contractor
expects to imcur under this contract will exceed 75 percent

of the estimated cost spocified in the schedulo.

 

 

 

 

 

5. ACCOUNTING AND APPROPRIATION DATA See CONTINUATION Page

28, TOTAL AWARD AMOUNT (For Govt Use Only}
NTE $1,000,060.00

 

 

J 27a, SOLICITATION INCORPORATES BY REFERENCE FAR 52.212-1, 52.212-4. FAR 92.212.3 AND 52,212-5 ARE ATTACHED. ADDENDA
x] 27d. CONTRACTIPURCHASE ORDER INCORPORATES BY REFERENCE FAR 52.212-4. FAR 62.212-6 1S ATTACHED, ADDENDA

8 CONTRACTOR !S REQUIRED TO SIGN THIS DOCUMENT AND RETURN COPIES
TO IBSUING OFFICE. CONTRACTOR AGREES TO FURNISH ANO OLIVER ALL ITEMS SET
FORTH OR OTHERWISE IDENTIFIED ABOVE AND ON ANY ADDITIONAL SHEETS SUBJECT TO
THE TERMS ANDO CONDITIONS SPECIFIED HEREIN.

EC] ARE ARE NOT ATTACHED.
[Jare [x] are NOT ATTACHED

29, AWARD OF CONTRACT: REFERENCE OFFER
oO DATED » YOUR OFFER ON SOLICITATION [BLOCK

 

 

Oo. SIBNATURE OF OFFEROR/CONTRACTOR

antra

6), INCLUDING ANY ADRITIONS OR CHANGES WHICH ARE SET FORTH
318, UN TESOF POE INTRACTING OFFICER)

 

on, NAME AND TITLE OF SIGNER (TYPE OR PRINT) 30a. DATE SIGNEO

 

 

MnAkeiA £ (ALM M-17-0¢F

HEREIN 'S ACCEPTED AS TO TEMG S
Sib. NAwe OF CONTRACTING OFFICER (TYPE OR PRINT) aia /O/3 1 TO /

 

 

UTHORIZEO FOR LOCAL REPROOUCTION .

Janice L. Gurganus
Contracting Officer

STANDARD FORM 1448 = (REV. ‘42002)
Prancribad py GEA - FAR (48 CFR) 33.212

 

FEMA PR MLU 002245
